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                                                                                                                    2025 Mar-03 PM 09:31
                                                                                                                    U.S. DISTRICT COURT
                                                                                                                        N.D. OF ALABAMA




                                             ALABAMA ATTORNEY GENERAL'S OFFICE
                                                   INVESTIGATIVE DIVISION
                                                   SUMMARY OF FINDINGS
                                            ALABAMA DEPARTMENT OF CORRECTIONS


                      On August 22,2018,1, Special Agent                             and Special Agent
                      were contacted by Commissioner Jefferson Dunn of the Alabama Department of Corrections.
                      We were asked to investigate two (2) allegations against Mr. Grantt Culliver, an Associate
                      Commission of the Alabama Department of Corrections. These two (2) allegations were:
                                From March 2010 to May 2018, Commissioner Culliver was alleged to have been
          /    -   tt•\      involved in an inappropriate relationship with
                       .1                               mmmmmmmp• Facility. The relationship has reportedly
                            undermined the position and authority of the warden at the                   facffity, and
                             caused anegative effect on the operational climate, good order and discipline of the
                            facility.

                            2) During aMarch 2018 phone conversation with Warden Guy Noe of the North
                            Alabama Community Based Facility, Associate Commissioner Grantt Culliver allegedly
                            used inappropriate language, speaking in avery threatening and disparaging manner to
                            Warden Noe,

                     ENDINGS AND SUMMARY OF INVESTIGATION

                     Allegation Two: Inappropriate Language Against Warden Noe
                     This report will begin with an assessment of allegation two (2) because this is the allegation that
                     resulted in the least interviews and the least amount of reviewable evidence, In an interview with
                     Warden Noe he explained that he had received atelephone, call from Commissioner Culliver in
                     regards to the business manager at the facility, Mr. Schultz, having emailed someone at the
                     Central Office in Montgomery, Alabama, and asking about the purchase of microwaves for the
                     facility. According to Warden Noe he had received aphone call in which Commissioner Culliver
                     had told him that he should never let his ?**king business manager cal] him asking about
                    anything. According to Warden Noe the phone call was very tense and there were several
                    instances in which Commissioner Culliver used threatening or harassing language, There was no
                    one on the phone call except Commissioner Culliver and Warden Noe so the only other evidence
                    that could be located was the statement of Commissioner Culliver. On 10/09/2018 Commissioner
                    Culliver was interviewed at the Office of the Attorney General and he was questioned as to his
                    conversation with Warden Noe, Commissioner Culliver stated that he did not remeniber the
                    exact language of the phone call but that he had no intention of threatening or demeaning
                    Warden Noe when they spoke on the phone, Instead it was Commissioner' Culliver' sassertion
                    that he was upset when he talked with Warden Noe and that he likely did use "curse" words on
                    the phone with Warden Noe because the issue with the microwaves was yet another in along
                    line of issues he wag having with Warden Noe, He stated that he did not recall using any
                    language that would be considered threatening but that he did likely use language that would be
                    considered foul in his conversation with Warden Noe concerning the purchase of the microwaves
                    and the business manager contacting someone at the central office directly. He further stated that

                                                                                                                EXHIBIT




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                while he was trying to do better with his language he did have along history of working in the
                field of corrections and that he had routinely used language that would be considered "curse"
                words or potentially obscene language, but he did so not out of the intent to threaten or demean
                Warden Nog.

                Determination of Finding: While there is little doubt that aphone call took place that contained
                the use of language that would be deemed inappropriate there is insufficient evidence to
                determine whether or not the conversation resulted in any threatening or abusive language.

                Allegation One: Inappropriate Workplace Relations/zip with
                In investigating this allegation Special Agent            and Iwere exposed to numerous
                employees within the Alabama Department of Corrections, During interviews and statements
                taken with these individuals apattern of sexual misconduct became apparent. We were able to
                review Commissioner Culliver's ADOC emails, as well as his work computers and cell phones.
                In conducting aforensic analysis of each of these devices there were emails identified by me that
                led me to believe that Commissioner Culliver was not only engaged in an inappropriate sexual
                relationship with                          but with five (5) additional women inside the Alabama
                Department of Corrections as well. The emails led myself and Agent              to identi the




                                                                                                             e
                following pages detail the investigation and findings as they re ate to each of these females.




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                Determination of Finding: Based on the digital evidence and interviews conducted it appears
               that         was involved in an ongoing relationship with Commissioner Culliver from at least
               2010 until the initiation of this investigation. At no time did        nor Cul liver adhere to
               ADOC policy and inform their supervisor about this relationship. It also appears that
               engaged in the routine use of her cellular phone inside of asecure facility without permission
               from her warden and occasionally in direct contradiction to the instructions of her warden. She
               also used state vehicles and equipment to travel to unknown locations during the course of her
               relationship with Culliver. It also appears that M       was not taking comprehensive time nor
               was she requesting off time for these ictivities and was travelling unapproved while on the clock
               and billing the ADOC for her time.
                      ,4DOCAR Violatio,zs:
                      ARfi 235: Fraternization Policy
                             It is the policy of the ADOC that employees must maintain aprofessional work
                             environment where clear boundaries are established between employees' personal
                             and work interactionsand that theft actions maintain ADOC workplace integrity.

                             All ADOC employees share the responsibility for maintaining professional
                             relationships, All employees are responsible for the proper adherence to the AR
                             and Institutional SOPs.

                             Tangible Employment Action; Action taken that constitutes asignificant change
                             in employment status, such as hiring, firing, failing to promote, reassignment with
                             significantly different responsibilities, or adecision causing asignificant change
                             in benefits.


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                              Inappropriate Relationships: Relationships of whatever nature that compromise
                              the integrity of supervisory authority or the chain of command; cause partiality or
                             unfairness; involve the improper use of rank or position for personal gain; are
                             exploitative or coercive in nature; create an actual or clearly predictable adverse
                             impact on discipline, authority, morale or the ability of the ADOC to accomplish
                             its mission.

                     235.m.V. All personal relationships between supervisors and an employee in his/her
                           chain of command are prohibited,
                           V.B. All personal or social relationships are prohibited if they;
                                  I. Cause actual preference or unfairness; or
                                  2. Involve the improper use of position for personal gain; or
                                  3. Are unethical and threatening in nature; or
                                  5. Create an actual or clearly predictable adverse impact on discipline,
                                  authority, morale, or the ability of the ADOC to accomplish its mission.

                     235.C. 1. Supervisors including Executive Staff, must disclose immediately the existence
                            of any relationship with an employee in his/her chain of command that has
                            progressed, or is likely to progress, beyond aprofessional or social relationship to
                            apersonal relationship.
                            5. Failure of asupervisor to voluntarily disclose the existence of any such
                            relationship and allow the ADOC to take reasonable steps to mitigate the situation
                            shall be subject to corrective action.

                    ARfi 208 Employees Standards of Conduct Annex H:
                           5. Unauthorized use of telephones, bulletin boards or other state property.
                           11. Failure to follow supervisor instructions, non-compliance with policies and
                          procedures.
                           17. Taking into any ADOC facility any article, item, or property which is not
                           authorized by regulation, or without the approval of the Warden/Director.
                           18. Serious violations of rules, policies, procedures, regulations, laws, or
                          reasonable conduct expectations.
                          23. Abusive or misuse of authority, including but not limited to departmental
                          property and/or ADOC identification. cards/items.

                    AR #zos.m.0 Employees Standards of Conduct
                         Sexual Misconduct: Any behavior or act of sexual nature directed toward an
                         employee, volunteer, visitor, inmate, or agency representative.
                         1. Acts or attempts to commit such acts as sexual assault, sexual abuse, sexual
                            harassment, sexual contact, actions desiguated, for the, gratification of any
                            party, conduct of asexual nature or implication, obscenity and unreasonable
                            invasion of privacy.
                         2. Conversations or correspondence, which suggests aromantic or sexual
                            relationship between any parties mentioned above.




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                                3. Any act of sexual conduct as described in Code of Alabama 1975. Section 14-
                                   11-30,

                        AR# 208.V. All ADOC employees shall adhere to the following standards:
                              6, Protect and conserve fluids, property, equipment and materials.
                              7. Observe all laws, rules and regulations,
                              8. Uphold, with integrity, the public's trust involved in their position.
                              12. Promptly report any incidents of sexual misconduct.
                              13. Report all instances when the ability to supervise asubordinate employee is
                              affected by apersonal and/or non-working relationship with that employee.

                             208.0
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                               table. To maintain consistency, the' imposition of discipline that does not
                               correspond with the table must be fully justified in writing and submitted to the
                               ADOC Personnel Director who shall confer with the appropriate Deputy
                               Commissioner. The Warden/Division Director requesting this variance shall be
                               notified by the ADOC Personnel Director of the decision.


                During the course of our investigation into the allegations concerning Cuuiver and          it was
                brought to my attention that there had been whi spers .f another relationship involving
                         and Culliver that had circulated in earl 2016




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               Determination of Finding: Based on the evidence available it is believed that           was
               engaged in asexual relationship With Culliver that spanned in time from 2014 until the initiation


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                of our investigation into Culliver. It does not appe4at at any time dun            the relationship did
                          nor Culliver report this relationship to h&z su. ervisor nor did   -   alert an one wi
                ADOCo ter ....•         -   . .. ..



                                                 There is no way to determine whether or not promotional, or
                any other, decisions were made on the basis of the relationship or the discovery of the
                relationship by                    However, the fact that these decisions were overseen by
                Culliver during atime in which he was engaged in asexual relationship with              warrants
                consideration..

                      ADOC4R Violations:
                      ARfi 235: Fraternization Policy
                             It is the policy of the ADOC that employees must maintain aprofessional work
                             environment where clear boundaries are established between employees' personal
                             and work interactions and that their actions maintain ADOC workplace integrity.

                              All ADOC employees share the responsibility for maintaining professional
                              relationships. All employees are responsible for the proper adherence to the AR
                              and Institutional SOPs.

                             .
                             Tangible Employment Action; Action taken that constitutes asignificant change
                             in employment status, such as hiring, firing, failing to promote, reassignment with
                             significantly different responsibilities, or adecision causing asignificant change
                             in benefits.

                             Inappropriate Relationships: Relationships of whatever nature that compromise
                             the integrity of supervisory authority or the chain of command; cause partiality or
                             unfairness;. involve the improper use of rank or position for personal gain; are
                             exploitative or coercive in nature; create an actual or clearly predictable adverse
                             impact on discipline, authority, morale or the ability of the ADOC to accomplish
                             its mission,

                     235.ULV. All personal relationships between supervisors and an employee in his/her
                           chain of command are prohibited.
                           V.B. All personal or social relationships are prohibited if they;
                                  1. Cause actual preference or unfairness.; or
                                  2. Involve the improper use of position for personal gain; or
                                  3. Are unethical and threatening in nature; or
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                                  authority, morale, or the ability of the ADOC to accomplish its mission.

                     235,C. I. Supervisors including Executive Staff, must disclose immediately the existence
                            of any relationship with an employee in his/her, chain of command that has
                            progressed, or is likely to progress, beyond aprofessional or social relationship to
                            apersonal relationship.



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                               5 Failure of asupervisor to voluntarily disclose the existence of any such
                               relationship and allow the ADOC to take reasonable, steps to mitigate the situation
                               shall be subject to corrective action.

                        AR #zos.m.0 Employees Standards of conduct
                               Sexual Misconduct: Any behavior or act of sexual nature directed toward an
                               employee, volunteer, visitor, inmate, or agency representative.
                             -4. Acts or attempts to commit such acts as sexual assault, sexual abuse, sexual
                                  harassment, sexual contact, actions designated for the gratification of any
                                  party, conduct of asexual nature or implication, obscenity and unreasonable
                                  invasion of privacy.
                              5. Conversations or correspondence, which suggests aromantic or sexual
                                  relationship between any parties mentioned above.
                              6. Any act of sexual conduct as described in Code of Alabama 1975, Section 14-'
                                  11-30,

                       AR// 208,V. All ADOC employees shall adhere to the following standards:
                              6. Protect and conserve funds, property, equipment and materials.
                              7. Observe all laws, rules and regulations.
                              8. Uphold, with integrity, the public's trust involved in their position:
                              12. Promptly report any incidents of sexual misconduct.
                              13. Report all instances when the ability to supervise asubordinate employee is
                              affected by apersonal and/or non-working relationship with that employee.

                       AR// 20&O
                             The Annex H table, Tale of Infractions/Level of Discipline, is intended to
                             promote consistent discipline within the ADOC and guide supervisors at all levels
                             when the imposition of discipline becomes necessary. At times, there are
                             mitigating or aggravating circumstances, surrounding the infraction, and as such,
                             the appropriate level of discipline may be increased or decreased in relation to the
                             table. To maintain consistency, the imposition of discipline that does not
                             correspond with the table must be filly justified in writing and submitted to the
                             ADOC Personnel Director who shall confer with the appropriate Deputy
                             Commissioner. The Warden/Division Director requesting this variance shall be
                             notified by the ADOC Personnel Director of the decision.




               During the course of our investigation Agen              nd Idiscovered aseries of emails that
               led us to believe that Culliver.was likely engaged in asexual relationship with




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               Determination of Finding: Based on the evidence available itappears that M            and Culliver
               had along running relationship that stretched almost adecade in length. At no point did
               nor Culliver ever report their relationship to asupervisor and at no point did she attempt to end
               the relationship. Instead it appears that she used her relationship with Culliver as ameans of
               circumventing her chain of command when conveying complaints and/or concerns about the
               administration of the                          facility.

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                     ADO CAR Violations:
                     AR# 235: Fraternization Policy
                           It is the policy of the ADOC that employees must maintain aprofessional work
                           environment where clear boundaries are established between employees' personal
                           and work interactions and that their actions maintain ADOC workplace integrity.         -




                            All ADOC employees share the responsibility for maintaining professional
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                            Tangible Employment Action; Action taken that constitutes asignificant change
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                            Inappropriate Relationships: Relationships of whatever nature that cpmpromise
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                            unfairness; involve the improper use of rank or position for personal gain; are
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                            impact ondiseipline, authority, morale or the ability of the ADOC to accomplish
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                                  5. Create an actual or clearly predictable adverse impact on discipline,
                                  authority, morale, or the ability of the ADOC to accomplish its mission.

                    235.C. 1, Supervisors including Executive Staff, must disclose immediately the existence
                           of any relationship with an employee in his/her chair of command that has
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                           5. Failure of asupervisor to voluntarily disclose the existence of any such
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                           shall be subject to corrective action.

                    AR #208.ffl.0 Employees Standards of Conduct
                          Sexual Misconduct: Any behavior or act of sexual nature directed toward an
                          employee, volunteer, visitor, inmate, or agency representative.
                          7. Acts or attempts to commit such acts as sexual assault, sexual abuse, sexual
                             harassment, sexual contact, actions designated for the gratification of any


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                                    party, conduct of asexual nature or implication, obscenity and unreasonable
                                    invasion of privacy.
                               8. Conversations or correspondence, which suggests aromantic or sexual
                                  relationship between any parties mentioned above.
                               9. Any act of sexual conduct as described in Code of Alabama 1975. Section 14-
                                  11-30.

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                       AIR!! 208.0
                               The Annex H table, Tale of Infractions/Level of Discipline, is intended to
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                              mitigating or aggravating circumstances surrounding the infra   ction, and as such,
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                              table. To maintain consistency, the imposition of discipline that does not
                              correspond with the table must be filly justified in writing and submitted to the
                              ADOC Personnel Director who shall confer with the appropriate Deputy
                              Commissioner. The Warden/Division Director requesting this variance shall be
                              notified by the ADOC Personnel Director of the decision.




               During the course of our investigation Agent           and Idiscovered aseries of
               communications between Culliver and                            that indicated that the two (2) had
               been or were currently involved in an ongoing sexual relationship.




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                 Determinculon of' FInding; Based on the evidence revieweZthe               views conducted it
                 appears thai          and Culliver were also engaged in aloual relationship that
                 mayor may not have ended prior to this investigation. Regointdid                           nor

                 Culliverinform anyone in their chain of command that thn asexual relationship
                 with CulliAwr. Further, this relationship led to asituation in which       felt comfortable
                 enough with Culliver that she was willing, and did so o severi nrrasions, to engage in negative
                 commentary with Culliver about her di rec tsupervi   sor,             As aresult the efficiency of
                the organization was negatively affected because of this relationship. Additionally, while all
                parties involved claimed that no one benefited from the sexual relationship there is some
                question as. to whether the expenditures to repair the housing at
                would have been approved if requested by awarden not currently or formerly engaged in a
                sexual relationship with Culliver. This statement is based off Culliver's own statement that the
                housing a             vas in bad shape, yet he had not approved nor moved to make any of these
                repairs under the former warden,

                       AIDOCAR Violations:
                       AR# 235: Fraternization Policy
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                      235.ffl.V. All personal relationships between supervisors and an employee in his/her
                             chain of command are prohibited.
                             V.B. All personal or social relationships are prohibited if they;
                                     1. Cause actual preference or unfairness; or




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                                    2. Involve the improper use of position for personal gain; or
                                    3. Are unethical and threatening in nature; or
                                    5. Create an actual or clearly predictable adverse impact on discipline,
                                    authority, morale, or the ability of the ADOC to accomplish its mission.

                     235.C. 1. Supervisors including Executive Staff, must disclose immediately the existence
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                         ADOC Personnel Director who shall confer with the appropriate Deputy
                          Commissioner, The Warden/Division Director requesting this variance shall be
                         notified by the ADOC Personnel Director of the decision.




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                In reviewing Culliver's ADOC emails for evidence of sexual relationships with Mand
                       myself and Agent           arne across aseries of flirtatious emails between Culliver
                and            ,the




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               Determination of Finding. Based on the evidence available and reviewed it appears that
               Culliver and =engaged in asexual relationship for an undetermined, albeit likely very brief,
               time period before they broke off the relationship. During the course of this relationship there
               was no attempt by either party to report the relationship to an immediate supervisor or any other
               personnel within the ADOC.

                      ADOCAR flolations:
                      AR# 235: Fraternization Policy
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                     235.C. I. Supervisors including Executive Staff, must disclose immediately the existence
                            of any relationship with an employee in his/her chain of command that has
                            progressed, or is likely to progress, beyond aprofessional or social relationship to
                            apersonal relationship.




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                                   5. Failure of asupervisor to voluntarily disclose the existence of any such
                                   relationship and allow the ADOC to take reasonable steps to mitigate the situation
                                   shall be subject to corrective action.

                           AR #208.111,tr Employees Standards of Conduct
                                 Sexual Misconduct: Any behavior or act of sexual nature directed toward an
                                 employee, volunteer, visitor, inmate, or agency representative.
                                 13. Acts or attempts to commit such acts as sexual assault, sexual abuse, sexual
                                     harassment, s exual contact, actions designated for the gratification' of any
                                     party, conduct of asexual nature or implication, obscenity and unreasonable
                                     invasion of privacy.
                                  14. Conversations or correspondence, which suggests aromantic or sexual
                                       relationship between any parties mentioned above.
                                  15.. Any-act of sexual conduct as described in Code of Alabama 1975. Section 14-
                                       11-30.

                          AIRY 208.V. All ADOC employees shall adhere to the following standards:
                                 6. Protect and conserve funds, property, equipment and materials.
                                 7. Observe all laws, rules and regulations.
                                 S. Uphold, with integrity, the public's trust involved in their position.
                                 12. Promptly report any incidents of sexual misconduct.
                                 13. Report all instances when the ability to supervise asubordinate employee is
                                 affected by apersonal and/or non-working relationship with that employee.

                          ARY 208.0
                                The Annex H table, Tale of Infractions/Level of Discipline, is intended to
                                promote consistent discipline within the ADOC and guide supervisors at all levels
                                when the imposition of discipline becomes necessary. At times, there are
                                mitigating or aggravating circumstances surrounding the infraction, and as such,
                                the appropriate level of discipline may be increased or decreased in relation to the
                                table. To maintain consistency, the imposition of discipline that does not
                                correspond with the table must be filly justified in. writing and submitted to the.
                               ADOC Personnel Director who shall confer with the appropriate Deputy
                                Commissioner, The Warden/Division Director requesting this variance shall b
                               notified by the ADOC Personnel Director of the decision.


               During the course of our investigation there were several instances in which Agent             and
               Icame across information that led us to believe that         and Culliver may have been involved
               in asexual relationship of an unknown length of time. There were no direct mails between
                      and Culliver as there were with other females identified during the course of this
               investigation. Rather, there was apattern of behavior consistent with the behavior of these other
               women i.e.
                      -                             in which Meemed to feel very comfortable approaching
               Culliver for routine and; 'ersonal discussions; Of •articular note was aseries of emails




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               Deter,nirnztion qf Finding: Based on the evidence available there is insufficient evidence to
               show that        and Culver were involved in any sexual relationship, There is, however,
               information that would show that= and Culliver were peihaps not being the best stewards of
               the state's money in that they were not only refurbishing state-owned housing but they were then
               adding amonthly service fee for security services that could be deemed unnecessary.


                       Miscellaneous Findings Grantt Culliver
                                               -




               In talking with Culver in his interview there was an admission of at least one (1) other
               temporary sexual relationship with afemale               employed at
               Facility. However, Culliver acknowledged that the relationship was short lived and very limited;

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                so much so that he could not even recall the female's name and only remembered her occupation
                at the facility. Ihave since discovered that the female is most likely                    and
                that she is no longer employed with the ADOC and has potentially left the state.




                In interviewing Culliver he was very cooperative and professional in his behavior. Italked with
                him about how the personnel within the ADOC viewed him and his skills in the area of
                correctional management, to which he then admitted that he had aweakness for women and that
                he had allowed that weakness to place him in the position that he was in. When Iasked how he
                felt it would be possible to return to the ADOC and supervise personnel who were now aware of
                his indiscretions, Culliver admitted that he did not feel that he could return to the ADOC and
                then stated that he had perhaps overstayed his time in the correctional field. It is worth noting
                that while none of the females that Agent               and Iinterviewed reported these relationships
                to their supervisors or command staff, in no instance did Culliver ever report these relationship to
               his supervisors with his sexual relationships going back to very early in his ADOC career.
                               -




               Further, the relationshipsthat Culliver maintained with these women have cast acloud ofdoubt
               over many of the decisions that he made inhis day-to-day activities, Culliver repeatedly claimed
               that the relationships that he was in with these various women did not affect his decision making
               and that he never used his position to benefit any of these ladies. However, there are instances in
               which this could be questioned. Additiotially, while Culliver claimed that he did not use his
               position within the ADOC to facilitate or further any of these relationships he did use state-
               issued equipment such as his cellular phone; ADOC              and state-issued vehicle to not only
               initiate these relationships but to maintain - the relation up w these women. In the ease of his
               state4ssued vehicle and later his state-provided resi n
                                    -                                             actually used that equipment and
               those facilities to facilitate sexual relationships with the    omen.

                      ADOCA]? Violations:
                      AR# 235: Fraternization Policy
                            It is the policy of the ADOC that employees must maintain aprofessional work
                            environment where clear boundaries are established between employees' personal
                            and work interactions and that their actions maintain ADOC workplace integrity,

                              All ADOC employees share the responsibility for maintaining professional
                              relationships. All, employees are responsible for the proper adherence to the AR
                              and Institutional SOPs.

                              Tangible Employment Action; Action taken that constitutes asignificant change
                              in employment status, such as hiring, firing, failing to promote, reassignment with
                              significantly different responsibilities, or adecision causing asignificant change
                              in benefits.




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                              Inappropriate Relationships: Relationships of whatever nature that compromise
                              the integrity of supervisory authority or the chain of command; cause partiality or
                              unfairness; involve the improper.use of rank or position forpersonal gain; are
                              exploitative or coercive in nature; create an. actual or clearly predictable adverse
                              impact on discipline, authority, moraleor the ability of the ADOC to accomplish
                              its mission.

                     235.m.v.
                           All personal relationships between supervisors and an employee in his/her chain
                           of command are prohibited.
                           V.B. All personal or social relationships are prohibited if they;
                                   1. Cause actual preference or unfairness; or
                                  2. Involve the improper use of position for personal gain; or
                                   3. Are unethical and threatening in nature; or
                                  5. Create an actual or clearly predictable adverse impact on discipline,
                                  authority, morale, or the ability of the ADOC to accomplish its mission.

                     235.C.
                              1. Supervisors including Executive Staff, must disclose- immediately the existence
                              of any relationship with an employee in his/her chain of command that has
                              progressed, or is likely to progress, beyond aprofessional or social relationship to
                              apersonal relationship.
                              5. Failure of asupervisor to voluntarily disclose the existence of any such
                              relationship and allow the.ADOC to take reasonable steps to mitigate the situation
                              shall be subject to corrective action.

                    208.Annex H.
                          13. Disagreeable behavior, including lack of cooperation and insubordination,
                          17. Taking into any ADOC facility any article, item, or property which is not
                          authorized by regulation, or without the approval of the Warden/Director.
                        • 18. Serious violations of rules, policies, procedures, regulations, laws, or
                        •reasonable conduct expectations.
                          20. Use of abusive, profane or threatening language to other employees, inmates,
                          or the public.
                          23. Abusive or misuse of authority, including but not limited to departmental
                          property and/or ADOC identification cards/items.

                    AR #2OSJILU Employees Standards of Conduct
                         Sexual Misconduct: Any behavior or act of sexual nature directed toward an
                         employee, volunteer, visitor, inmate, or agency representative.
                          16. Acts or attempts to commit such acts as sexual assault, sexual abuse, sexual
                              harassment, sexual contact, actions designated for the gratification of any
                              party, conduct of asexual nature or implication, obscenity and unreasonable
                              invasion of privacy.
                         17. Conversations or correspondence, which suggests aromantic or sexual
                              relationship between any parties mentioned above..




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                              18. Any act of sexual conduct as described in Code of Alabama. 1975:Section 14-
                                  11-30,

                      ARfl 208..V. All ADOC employees shall adhere to the following standards:
                             6, Protect and conserve funds, property, equipment and materials.
                             7. Observe all laws, rules and regulations,
                             8. Uphold, with integrity, thó public's trust involved in their position.
                             12. Promptly report any incidents of sexual misconduct
                             13. Report all instances when the ability to supervise asubordinate employee is
                             affected by apersonal and/or non-working relationship with that employee.

                      AR4 208.0
                            The Annex H table, Tale of Infractions/Level of Disciplin; is intended to
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                           when the imposition of discipline becomes necessary. At times, there are
                           mitigating or aggravating circumstances surrounding the infraction, and as such,
                           the appropriate level of discipline may be increased or decreased in relation to the
                           table. To maintain consistency, the imposition of discipline that does not
                           correspond with the table must be fully justified in writing and submitted to the
                           ADOC Personnel Director who shall confer with the appropriate Deputy
                           Commissioner. The WardewDiviston Director requesting this va       riance shall b
                           notified by the ADOC Personnel Director of the decision.




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